        Case 3:23-cv-04155-YGR Document 10-34 Filed 08/17/23 Page 1 of 6




 1 MICHAEL W. BIEN – 096891                          OREN NIMNI*
   ERNEST GALVAN – 196065                             Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                          AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                     Md. Bar No. 2112150205
 3 ROSEN BIEN                                        D DANGARAN*
   GALVAN & GRUNFELD LLP                              Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor                   RIGHTS BEHIND BARS
   San Francisco, California 94105-1738              416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                         Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                       Telephone: (202) 455-4399
 6              egalvan@rbgg.com                     Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                                 amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                          d@rightsbehindbars.org
                                                     *
 8 SUSAN M. BEATY – 324048                               Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                                UNITED STATES DISTRICT COURT
14                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                              Case No.: 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of              DECLARATION OF C
   themselves and all others similarly situated,               C      IN SUPPORT OF
17               Plaintiffs,
                                                               PLAINTIFFS’ MOTIONS FOR
                                                               PRELIMINARY INJUNCTION
18        v.                                                   AND PROVISIONAL CLASS
                                                               CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4336595.1]
                   DECLARATION OF C      AC       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                       PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-34 Filed 08/17/23 Page 2 of 6




 1                 I, C      aC      , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison at FPC Bryan and was incarcerated at FCI
 6 Dublin from January 2019 until January 2022 when I went to the Dublin camp. I was at
 7 the Dublin camp until December 2022, when I was transferred. I arrived at FPC Bryan in
 8 January 2023. In the past, I was incarcerated by the Bureau of Prisons (BOP) at San Diego
 9 MCC for 22 months. In the future, BOP may transfer me to other BOP facilities, but at
10 any point I could be transferred back to FCI Dublin.
11                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
12 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
13 and put myself and other incarcerated persons at substantial risk of imminent serious harm
14 from sexual assault, harassment, and retaliation from staff.
15                 4.     I was bunkmates with A         R      L     beginning in February 2019 and I
16 lived with A               for the next year and a half. Even after A        and I were no longer
17 bunkmates, we remained friends, as her job in safety was next-door to my job in Unicor.
18 Officer Klinger was A                ’s boss during this time in the Safety department. A            and
19 Officer Klinger were in a romantic relationship and began having sex around April 2019.
20                 5.     I worked in Unicor starting in February 2019 as an orderly and janitor.
21 Beginning in or around May 2019, Officer Klinger would come to Unicor and ask to
22 “borrow” me when he was having sex with A                    . I was always around them. I often
23 felt like a third wheel. Later, when Officer Klinger no longer worked at FCI Dublin, he
24 would message A                  about me. They called me “nanny” —based on the idea that I
25 would be the “nanny” of their future “red-headed” child. Officer Klinger would pass by
26 our room when it was hot outside because he knew that A                   would be naked. They
27 also often passed notes with each other.
28                 6.     Around January 2020, A         was first placed in the SHU for hootch
     [4336595.1]                                          2
                    DECLARATION OF C        C      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-34 Filed 08/17/23 Page 3 of 6




 1 (jailhouse alcohol). They messed with her so much, she was in and out of the SHU all of
 2 the time. Once she was released from the SHU, she and I were no longer allowed to be
 3 roommates. However, we did remain friends. Around this time is when A                   and
 4 Officer Klinger made their relationship “official.” He was the SHU officer when she was
 5 in there.
 6                 7.    During the pandemic, I was able to move around because of my job with
 7 Unicor. My job as a Unicor orderly was to get supplies and chemicals from Safety.
 8 Officer Klinger would have me serve as a lookout while he had sex with A                in the
 9 warehouse. He told me to pretend that I was sweeping. He left the door open in the
10 warehouse, so I could hear his keys jingle as he assaulted her. I felt so nervous. Nobody
11 ever swept, so I looked suspicious. I wasn’t even at my typical jobsite. I had no idea if
12 someone was watching me. I would get so paranoid I would get sick to my stomach.
13                 8.    To ensure that I kept serving as lookout, Officer Klinger would threaten me,
14 saying things like, “better not fucking say anything, you’ll get fucked up.” A             would
15 also reassure him that I was her friend. Whenever I needed something, I knew that Klinger
16 could not say no. For example, I could get hand sanitizer, 30 gallons of wax for my job—I
17 got everything I needed because of him. I also got food, candies, and pens. He would give
18 jewelry and cosmetics to A              , and she should give me some as well. He also knew I
19 was scared of other officers, like Ramos. I got sent to the SHU in October 2020 for having
20 the bottle of hand sanitizer from Klinger.
21                 9.    One day, A       was crying and saying that she heard Officer Klinger was
22 having sex with another woman who was housed in the camp that also worked in the
23 Safety Department. A                begged Officer Klinger to not leave her. A       said that she
24 thought that Officer Klinger was going to wait for her and marry her. I recall her being
25 devastated and truly heartbroken. Shortly thereafter, Officer Klinger relocated to South
26 Dakota. He would still talk with her. I recall them having a video visit on Halloween.
27 Officer Klinger was using a fake name (“Juan Garcia”) and wore a mask. Shortly after
28 that, A              was sent to the SHU again and got shipped to another unit. We would write
     [4336595.1]                                        3
                    DECLARATION OF C        C      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-34 Filed 08/17/23 Page 4 of 6




 1 notes to each other in the kitchen, and it’s around then that she learned that Klinger had
 2 been caught by the police after proposing to a girl from camp in a halfway house. She was
 3 devastated. He had been buying her kids stuff, her mother stuff. She had a mental
 4 breakdown.
 5                 10.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 6 by staff and retaliate against people who do report. After A               left FCI Dublin, I kept a
 7 picture of her in my dorm. Officers began to retaliate against me because they knew I
 8 knew about her and Officer Klinger’s relationship. After A                left, at the end of 2021
 9 when all of the officers began to be walked off, we were in a lockdown. There was
10 supposed to be a room check of five random rooms. However, I saw officers walk directly
11 towards my room. They took everything. They also took items from my bunkmate. They
12 tossed my room, and I lost everything, all my clothing, food, and everything that I owned.
13 Except, they left my picture of A              on my bed. I know that it was retaliation. I can’t
14 think of another reason why I was being targeted all of the sudden.
15                 11.   In January 2022, I got transferred to the camp at Dublin all of a sudden.
16 There, I was targeted too. I had never gotten in trouble before, but I started getting write
17 ups all the time, left and right. I was thrown in the SHU for 13 days. I was having a really
18 hard time, and then they transferred me all the way to Texas, where I haven’t seen my
19 children since 2019. I don’t know what else to do. This has really taken a toll on my life.
20 I sometimes have nightmares, if I hear a man come in with a loud voice, I get scared. I’ve
21 been having a horrible experience at FPC Bryan, too. They put me in cells where I do not
22 feel safe. They have taken away my FSA credits that I earned at Dublin, and I’m now
23 facing extra years in prison.
24                 12.   When incarcerated persons report sexual assault and abuse by staff, FCI
25 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
26 delayed and overseen by staff who know and work with the offending staff member.
27 Generally nothing happens as a result. I was too scared to ever report anything about
28 Officer Klinger and A               ’s relationship. There is no effective way to confidentially
     [4336595.1]                                        4
                    DECLARATION OF C        C      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-34 Filed 08/17/23 Page 5 of 6




 1 report sexual assault and abuse by staff at FCI Dublin. I was afraid of the retaliation, like
 2 my room being hit, which happened anyway after Officer Klinger was arrested.
 3                 13.   There is no confidential mental health care available to survivors of sexual
 4 abuse and assault at FCI Dublin or at FPC Bryan. I don’t trust the police at all after what
 5 I’ve been through. It’s sad to say but I have to stay away from everyone here. I feel that
 6 they are all in cahoots together. They’re so two-faced here. They try to degrade you to the
 7 fullest. A lot of people have full mental breakdowns here. This place is so mentally
 8 disturbed. I am barely gliding through, and I still have three months. I’m surprised I made
 9 it this far. I would like access to an outside mental health care provider because BOP has
10 control of you here and I do not feel safe talking to BOP staff about these issues. I have
11 not been offered any outside mental health services based on the abuse I experienced at
12 FCI Dublin, and I do not know of any offered to survivors at FPC Bryan.
13                 14.   My time at FCI Dublin, combined with my transfer to FPC Bryan, has been
14 so hard on me. I’m losing weight. I came to FPC Bryan weighing 138 pounds and I’m
15 down to 120. I look so awful I wouldn’t even want my kids to see me like this. I also just
16 learned that I have precancerous cells in my uterus, and that there is an issue with my
17 bones in my knees (exostosis). They haven’t followed up with me on any of those issues.
18 I need some type of help, somewhere. I don’t know what to do anymore.
19 / / /
20 / / /
21 / / /
22 / / /
23 / / /
24 / / /
25 / / /
26 / / /
27 / / /
28 / / /
     [4336595.1]                                        5
                    DECLARATION OF C        C      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-34 Filed 08/17/23 Page 6 of 6




 1                 I, C   C   , declare that Ginger Jackson-Gleich and other individuals in her
 2 firm spoke with me on numerous occasions, most recently on August 10, 2023. Due to
 3 time constraints and the slow speed of prison mail, I could not personally sign this
 4 declaration. On August 10th, 2023, Ginger Jackson-Gleich spoke with me on the phone,
 5 and I authorized her to sign it on my behalf.
 6
 7 Executed on this 16th day of August, 2023.
 8
 9
                                                     Signed by Ginger Jackson-Gleich
10                                                   ROSEN BIEN GALVAN &
                                                     GRUNFELD LLP
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     [4340966.1]
